Case 17-28615-MBK   Doc 35    Filed 09/12/18 Entered 09/12/18 13:06:59   Desc Main
                             Document      Page 1 of 6
Case 17-28615-MBK   Doc 35    Filed 09/12/18 Entered 09/12/18 13:06:59   Desc Main
                             Document      Page 2 of 6
Case 17-28615-MBK   Doc 35    Filed 09/12/18 Entered 09/12/18 13:06:59   Desc Main
                             Document      Page 3 of 6
Case 17-28615-MBK   Doc 35    Filed 09/12/18 Entered 09/12/18 13:06:59   Desc Main
                             Document      Page 4 of 6
Case 17-28615-MBK   Doc 35    Filed 09/12/18 Entered 09/12/18 13:06:59   Desc Main
                             Document      Page 5 of 6
Case 17-28615-MBK   Doc 35    Filed 09/12/18 Entered 09/12/18 13:06:59   Desc Main
                             Document      Page 6 of 6
